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                     EXHIBIT A
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                                                                                                                USOO675458OB1

(12) United States Patent                                                                 (10) Patent No.:                      US 6,754,580 B1
       Ask et al.                                                                         (45) Date of Patent:                             Jun. 22, 2004

(54) SYSTEM FOR GUIDING VEHICLES                                                                 5,543,789 A        8/1996 Behr et al. ............. 340/995.12
                                                                                                 5,610.821 A        3/1997 Gazis et al. ................ 455/456
(75) Inventors: Benny Ask, Rotbacken 26, SE-16354                                                5,721,678 A        2/1998 Widl .......................... 705/417
                     Spånga (SE); Lennart Ask,                                                   5,933,100 A        8/1999 Golding ...................... 340/995
                     Ostergårdsgatan 36, SE-442 52 Ytterby
                     (SE)                                                                             FOREIGN PATENT DOCUMENTS
(73) Assignees: Benny Ask (SE); Lennart Ask (SE)                                    EP                     O345818            12/1989
                                                                                    EP                     O572129              7/1993
(*) Notice:          Subject to any disclaimer, the term of this                    WO                     99.09374             2/1999
                     patent is extended or adjusted under 35
                     U.S.C. 154(b) bydays..days.
 21) Appl. No.:      10,088065                                                      Primary Examiner Marthe Y. Marc-Coleman
(21) Appl. No           /088,                                                       (74) Attorney, Agent, or Firm-Orum & Roth
(22) PCT Filed:      Sep. 21, 2000
                                                                                    (57)                              ABSTRACT
(86) PCT No.:        PCT/SE00/01836
     S371 (c)(1)                                                                    A System for controlling vehicle movements on a road
     (2), (4) fate. Mar. 12, 2002                                                   network. The system provides for identification data and
                                                                                    road information transmission between a vehicle and a
(87) PCT Pub. No.: WO01/22035                                                       traffic information center. The road network is So arranged as
     PCT Pub. Date: Mar. 29, 2001                                                   to be entered into the System in such a way that it is regarded
                        O O                                                         as a data network, and each vehicle that is intended to make
(30)       Foreign Application Priority Data                                        use of the road network is logged in for travelling on the road
 Sep. 21, 1999 (SE) .............................................. 9903409          network, and each vehicle identifies itself at the time of
51) Int. C.7                                                G06F 19FOO              logging in, the identity is either dynamic or Static. Informa
(51) Int. Cl." ................................................  f                  tion relating to the intended destination is transmitted for
(52) U.S. Cl. .............. 701/117; 340/995.23; 340/995.24                        each vehicle to the traffic information center, and informa
(58) Field of Search ................................. 701/117, 207,                tion about the position and the Speed of the vehicle is also
                  701/209; 455/456; 340/990,995.23,995.24                           reported at regular intervals to the aforementioned traffic
(56)                     References Cited                                           information center, so that overall control of the traffic is
                                                                                    achieved.
                 U.S. PATENT DOCUMENTS
       4,888,699 A       12/1989 Knoll et al. ................ 701/209                                   13 Claims, 8 Drawing Sheets

                                                                             dynamic
                                                                             Guiding




                                          Reaitine positioning
                                            it with information
                                           about alwehicle
                                               towerTexts




                                           Traffic informatioF
                                            it with infortation
                                             about current
                                              restrictions




                                         destinationard route
                                        information unit with
                                        information about all
                                        destinations and roles
                                                                  -                                       Dynamic Guiding
                                                                                                           centrari




                                                                              traffic
                                                    stile                     ternation
                                            Communications                   Updating
                                                    Brit




                                                   externa              Exterial information
                                             Conications                     controit
                                                    Unit                Traffic signals, etc.)
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                                                   Logging-in
                                                      Unit




                 Geographical
                  Positioning                       Enter
                    Unit                           position




                 identification
                     Unit
                                               vehicle identity




                                                  Enter
                                              network address




                Geographical                        Enter
                 Destination                  destination and
                    Unit                     route information




                       g
                   Mobile                    Transmit log-in
                                               message to
              Commations                     Traffic Information
                                                  Centre




                                                     A / G. 1
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            Network                              Logging-in
           Information                            System
              Unit



                                             Verify logging-in and         Unit for
           Mobile Data                           version of          forwarding logging-in
        Version Handing                          mobile data            to another TC
             Unit




             Vehicle
           information                              Enter
              Unit                           vehicle information




                                                   Enter
       Destination & Route                  destination and route
          information                           information
            Unit




             Unit for                          Calculate best
         calculating best                      choice of route
          choice of route




              Mobile
                                             Update mobile data,          Mobile Data
         Communications                       map information              information
                                                and network                   Unit
               Unit                            information, etc.



              Mobife                             logging-in
         Communications                        accepted, enter
                Unit                         best choice of route
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                                                Dynamic
                                                Guiding



     Real time positioning
     unit with information
      about all vehicle
         movements




      Traffic information                                                   Operator's
     unit with information                       Dynamic
         about current                        Calculation Unit                 Unit
         restrictions



    Destination and route                                               - Dynamic Guiding
    information unit with                                                  Control Unit
    information about all
    destinations and routes




                                                   Traffic
             Mobile                              information
         Communications                           Updating
               Unit                                  Unit




             Externa                          External information
         Cornmunications                         Control Unit
               Unit                           (Traffic Signals, etc.)
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       Historical Data                        Real Time
        Storage Unit                          Positioning
           in TC                                Unit




                                                                 Drivers/Operator's
          Vehicle                              Vehicle               Terminal,
         information                         ldentification       static or dynamic
            Unit                                 Unit                  log-in



                                                                     Operator's
         TC-to-IC                                                       Unit
        Guiding Unit




                                            Dynamic Vehicle
                                        Address Allocation
                                                 Unit




                                             Mobile Data
         Mobile Data                          Versions               Data Entry
        Storage Unit                         Handling Unit             Unit
       Maps, etc., in TIC




             Vehicle                           Vehicle
           information                        information
          Storage Unit                        Unit in TC




                                                                 A/ G5
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        Destination and                    Destination and
        Route Storage                     Route information
            Unit                                Unit




         Mobile Data                        Mobile Data                   Update
          Storage                           information               mobile data
            Unit                               Unit                   in the vehicle




       Current Vehicle
        Positioning                       Current Vehicle
        Storage Unit                       Positioning               Current Vehicle
                                              Unit                     Position




          Traffic                            Traffic                    External
         information                       information               information Unit
        Storage Unit                           Unit                   or Operator's
                                                                          Unit




      Dynamic Control                 Dynamic Control                 Operator's
       Storage Unit                           Unit                        Unit




                                                               A / G. 6
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                                                     A/ G.7
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                                                     US 6,754,580 B1
                              1                                                                       2
          SYSTEM FOR GUIDING VEHICLES                                     The prior art discloses Systems that are essentially fixed in
                                                                       conjunction with the guiding of vehicles in a road network
                                                                       based on a number of links with indicated Speed informa
          BACKGROUND OF THE INVENTION                                  tion. The traffic is controlled “optimally” via traffic infor
                                                                       mation centers.
  1. Field of the Invention
                                                                          There is no indication of additional information in respect
   The present invention relates to a System for controlling           of identification of the vehicle: vehicle type, size and envi
vehicle movements, principally in densely populated areas              ronmental data, etc. This means that heavy goods vehicles
containing a road network, in conjunction with which each              are guided in the same way as passenger cars, and that tall
vehicle exhibits means for identification, means for road              vehicles can be directed to drive under bridges with insuf
information and means for the transmission of information              ficient headroom, heavy vehicles can be directed onto
between the vehicle in questions and a traffic information             bridges over which they are not permitted to drive, and that
Center.                                                                no account is taken of the environment in conjunction with
  2. Description of Related Art                                        guiding, etc.
  Attempts at achieving control of traffic flows in towns and     15      The prior art does not focus on the fact that the vehicles
cities and in Similar locations where the traffic volume is            must be “logged into the System, making them known and
high have already been disclosed. The individual does not              at all times identified with an indication of their position.
have a choice or route via which to drive the vehicle to its           This is a precondition for the more detailed control of
intended destination. Shown in U.S. Pat. No. 5,543,789 A,              Signals, among other things, but is also good for obtaining
for example, is a System and method for obtaining route                “floating-car-data” of high quality and, among other things,
control from a traffic control center or Similar.                      for the ability to debit road use and/or environmental
   U.S. Pat. No. 5,721,678 also shows a payment system for             charges.
vehicles. EPO 572 129 A1 shows a unit for indicating a                    The prior art also does not contain any reference to the
choice of route. Finally, U.S. Pat. No. 4,888,699 A shows a            fact that the road network must have, for example, environ
System for vehicle navigation.                                    25   mental and vehicle type classification in order for guiding to
   The aforementioned previously disclosed Systems resort              function correctly. Nor does it disclose guiding that takes
                                                                       place in order to optimize the entire traffic operation in the
to a Static traffice model based on historical information, and        System. There is also no mention of the control of Signals
to which an attempt is made to add dynamic information                 and other peripheral equipment which has an influence on
gathered from various points of measurement.                           the flow in the systems as a whole.
   Reliable traffic measurement equipment is expensive, and                        SUMMARY OF THE INVENTION
this is the reason why few measurement points have been
used. This further reduces the accuracy of the calculated                 The principal object of the present invention is thus, in the
information.                                                           first instance, to Solve the aforementioned problems by
  Various vehicle Systems are also previously disclosed           35   adopting as the Starting point the available information about
through the patent publications referred to below, which               vehicle movements in the traffic System, and to perform the
exhibit the indicated characteristics.                                 calculations required in order to optimize the flow deriving
U.S. Pat. No. 5,610,821. A IBM                                         therefrom. No investments in a fixed infrastructure are
  Calculates the optimal route for the vehicles based solely           required in conjunction with this.
     on the current traffic flow.                                 40      The aforementioned object is achieved by means of a
  Consists of Several interlinked information centers, ICS.            System in accordance with the present invention, which is
  IC stores a model of the road network.
                                                                       characterized essentially in that the road network is So
                                                                       arranged as to be entered into the System in Such a way that
  Communication to the vehicle's computer equipment.                   is regarded as a data network, in that each vehicle that is
  Each vehicle has an IP address.                                 45   intended to make use of the road network is logged in for
  Optimization according to the cheapest route or the latest           travelling on the road network, in that each vehicle identifies
    acceleration.                                                      itself at the time of logging in, in conjunction with which the
  IBM ThinkPAD in the vehicle.                                         aforementioned identity is either dynamic or Static, in that
  Floating-car-data                                                    information relating to the intended destination is sent in
                                                                  50   from each vehicle to the traffic information center, in that
  Dynamic guiding only if a major change occurs in the                 information about the position and the Speed of the vehicle
     road network.                                                     is reported at regular intervals to the aforementioned traffic
WO 99/09374. A2-Siemens                                                information center, whereby overall control of the traffic is
  Guiding                                                              achieved on the basis of the information reported to the
  Floating-car-data, Sporadically checks the information          55   traffic information center, in that information about the
    received by the controlled vehicle.                                proposed route for each vehicle Selected in this way is
                                                                       transmitted from the traffic information center to the vehicle
  Version handling of maps and Software.                               in question and in that way achieves dynamic guiding of the
EP 0345818–OKI Electric Industry Company                               traffic, and in that, thanks to the fact that all the vehicle's
  ID based on a vehicle-specific code, System code, earth         60   movements are known, an overall traffic System is achieved
     Station code, mobile Station code, destination code and           which exhibits an exact image of the actual traffic Situation,
    driving area code.                                                 whereby the possibility is provided for control of the same
  “Frame': Introductory field, vehicle ID field, multiple              centrally.
     distributor field, vehicle communication field, end                  In order to obtain guiding, the amount of information
     communication field.                                         65   required is greater than that indicated by earlier inventions.
U.S. Pat. No. 5,721,678-Mannesmann                                     Provided disclosed (e.g. via Patent EP 0345818 A2) is the
  Payment card the vehicle for recording road use charges.             identification of communication with a vehicle via an ID. In
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this case, the guiding design can only be based on the                       and make use of various peripheral Services to optimize
information collected in respect of the traffic flow. This                   the flow in the “data network', and the calculation of
invention includes a Guiding ID which contains a number of                  the optimal route is based on this extra information.
components as Support for                                                 Supplementary information can also be distributed in
   a guiding decision, based on a number of components, at                  respect of temporarily reduced Speeds in conjunction
     the information center;                                                with road works or, for example, near Schools and
  controlling traffic Signals and other road equipment;                     dynamic humps if the vehicle equipment permits this.
  obtaining different Services which are intended primarily                    BRIEF DESCRIPTION OF THE DRAWINGS
    to reduce the transport work.
  This ID is also used for communication between items of                 The invention is described below as a preferred illustra
vehicle equipment and between vehicles and roadside equip              tive embodiment, in conjunction with which reference is
ment.                                                                  made to the accompanying drawings, in which
  ID, logging in and road network are significant, which is               FIGS. 1-6 show the block diagram of different parts of the
unique to the System.                                             15   System, where:
  I. Identification is important and includes, inter alia                 FIG. 1 ShowS logging in of the vehicle;
  IP address or a similar network identity                                FIG. 2 shows validation of the logging in;
  Use stored information about the user of the service                    FIG. 3 shows dynamic traffic data;
  Vehicle information, vehicle type (bus, car)                            FIG. 4 shows dynamic control;
  Environmental equipment, size (height/length), etc.                     FIG. 5 shows data Storage;
  Goods/passenger information (number of passengers,                      FIG. 6 shows more data Storage;
    hazardous goods, etc.)
  Vehicle S/driver S/passengers communication                             FIG. 7 shows the system with is constituent parts sche
     equipment, type (mobile telephone, palmtop, in-car           25
                                                                       matically; and
     computer/BMW, etc.), network/operator for                            FIG. 8 shows different parts of the system indicated.
     communication, language and level of information,
     versions SW/hw, map handling functionality, Versions                           DETAILED DESCRIPTION OF THE
     of map modules for traffic area                                                        INVENTION
  Other information (parking space required, etc.)                       The present system is described briefly below in the form
  Requests for priority/green wave/“warning Signals on',               of tabulated data and the function of the system.
     etc., can be sent to the roadside equipment for local
     autonomous Systems. The area of application includes
     public transport, emergency vehicles, heavy goods
     vehicles and environmentally hazardous transport, etc.       35 Guiding ID                 Notes
  II. Logging in is important                                          Communications ID        IP address or similar for the identification of
  Logging in can be effected prior to the Start of the journey,                                 an individual vehicle (according to what is
     for example, via a mobile telephone. This means that                                       already known). The system permits dynamic
                                                                                                allocation of in IP address.
     traffic information can be provided, which may cause              Customer ID with         Customers who have requested a guiding ID
     the traveler to choose a different time of travel/route/     40
                                                                       information about        to be stored in the control center are
     destination.                                                      stored information       only able to send the dynamic parameters in
  Logging in permits everyone in the System to obtain                  must be used.            this way.
                                                                       Vehicle ID with          Vehicle information.
     information and means that all vehicle movements are              information about:
     known.                                                            registration
                                                                  45   number, country code,
  Different interactive Systems along the route are activated,         vehicle type, engine,
     Such as signals, etc.                                             etc., environmental
  The vehicle reports its position, etc., continuously in order        equipment, size
     for the Systems to be capable of observing the dynamic.           (height, length, etc.).
  III. Regarding the road network as computer network is               Goods and passenger ID, Number of passengers, type of goods
important                                                         50   number, type, function. (hazardous goods, etc.), public transport
                                                                                                vehicles (in service, running empty,
  The road network consists of a series of links with                                           10 minutes late).
     different Speeds, permitted types of vehicle and envi             Equipment ID, type,      Vehicle'sfariver's/passenger's communications
                                                                       network, language, level equipment, type (mobile telephone/palmtop,
     ronmental requirements, etc. The network also contains            versions, map handling in-car computer/Volvo, etc.) network for
     dynamic information about road works and temporary           55   function, version map communication (GSM, etc.), language (in
     road closures, etc.                                               handling, channel.       which language do I wish to receive the
  Guiding takes place with a view to optical utilization of                                     communication?), level (different levels of
                                                                                                information, from detailed information to brief,
     the road network. In that connection, use is made of                                       summary messages), versions of software in
    different forms of peripheral equipment and Services in                                     the equipment to enable adaptation of
    order to minimize the driving time. This applies to the       60                            functionality, map handling function indicates
    control of Signals, bridge opening and public transport,                                    what level of map information can be received,
                                                                                                channel describes whether information must
    etc., and to the reservation of parking Spaces and the                                      be distributed, e.g. between mobile telephone
    automatic payment of road use charges, etc.                                                 and in-car equipment, and how this must take
  Optimal guiding is achieved only when complete identi                                         place. In this case, there are two items with
                                                                                                an equipment ID.
    fication has been obtained and this has been applied via      65   Priority ID, type of     The request for priority can be made by
     logging in (together with continuous reporting of the             priority.                different vehicles in public transport,
     position, etc.) in order to control peripheral equipment
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                                         S                                                                                    6
                                                                                              Data network The method of regarding the road
                                   -continued                                                network as a data network brings with it a number
Guiding ID                     Notes
                                                                                              of new benefits which Significantly increase the
                                                                                                            flow in the system.
                               emergency vehicles and heavy goods vehicles
                               or environmentally hazardous traffic.
Automatic, type, etc.          Information about automatic equipment, and
                               of which kind, is available in the vehicle.                             Link information also includes the following,
                               This can apply to speed control, burglar                               in addition to the traditional traffic information:
                               alarm and alcohol lock, etc.
Other information.                                                                    Information                  Notes
External services:       Services intended primarily to reduce
parking space, automatic transport work.                                              Traffic information          Related to speed restriction, historical normal
road use charge.                                                                                                   flow and number of lanes, etc.
Information:                   Free text for information about external               Vehicle types                Types of vehicle permitted on this link.
                               services.                                              Environmental data           Environmental classification required by the
                                                                                 15                                vehicle to drive on the link.
                                                                                      Control                      Parameters for controlling traffic signals, etc.,
                                                                                                                   to increase the flow in the data network.
                                                                                      Dynamic information          “One lane is closed between 1 and 9
                                   Loggin in                                                                       September due to refurbishment of a
                                                                                                                   building, “Direction of travel changed
                                                                                                                   on one lane during the period . . . due
                                                                                                                   to road works, etc.
   Loggin in its important in order to obtain a complete                              Dynamic environmental Inversion or similar, and time period.
picture of what players are present in the System. This can                           data
also be effected prior to the Start of the journey, for example                       Road use charge              Fixed charge, or variable charge by type of
via a mobile telephone, an ordinary telephone or various                                                           vehicle, by environmental classification,
                                                                                                                   dynamic environmental data, number of
types of computer equipment. One or more destinations and                        25                                passengers, public transport vehicles and
a Guiding ID are entered in conjunction with logging in. The                                                       requested priority, etc.
                                                                                      Other
information center transmits information about the proposed
route and any other information that may be of interest.
                                                                                                                         Functions
   Logging in can also acuate peripheral Systems to prepare
for various activities.                                                                  We can change the traffic flow via signal control
                                                                                         We can change the flow on the link via dynamic road data
                                                                                              (road works, etc.)
                               Logging in message                                35      We can change the control criteria via environmental data
                                                                                           (inversion)
    Information                              Notes                                       The types of vehicles permitted to drive on the links (no
    Guiding ID                                                                             buses, etc.) affect the guiding
    Destination 1                                                                        Environmental classification on the links affects guiding
    Activity                                                                     40        and road use/environmental charges
    Destination 2
    Activity                                                                             Dynamic environmental information (inversion-no die
    Destination 3                                                                          Sel vehicles in the town) affects the guiding, etc.
    Parking required                                                                    The invention is to make optimum/maximum use of the
    Alarm required when parked                                                        network. A good picture of all vehicle movements is
    Priority                                 Only for selected groups, e.g. in   45   obtained via “floating-car-data'. Dynamic road information
                                             commercial traffic.
    Other                                                                             and environmental data, etc., together with traffic data,
                                                                                      provide the basis for controlling Signals and requesting
                                                                                      parking Spaces, etc. Each vehicle is then guided on the basis.
                                                                                      Charges:
   Logging in also proposes to provide information about the                     50     The collection of charges (road use charge, environmental
position and Status at regular intervals to enable the infor                          charge, etc.) is linked to the ID, logging in and the road
mation center to monitor the flow. The vehicles must also be                          network. It is possible in this way to create a highly flexible
able to leave “floating-car-data'. The center replies to log                          charging Structure and for payment to be effected via a cash
ging in with information in respect of how often the vehicle                          card in the car or via processing at the information center.
must inform the center of its position, etc.; this is the                        55   Heavy goods vehicles pay one price, and passenger cars
So-called "updating frequency'.                                                       powered by hydrogen gas pay a different price. Payment of
                                                                                      external Services, Such as parking, etc., can also be linked to
                                                                                      this.
                                                                                        A system for achieving the effective control of vehicle
                                  Status message                                 60   movements in densely populated areas and at other locations
               Information                     Notes                                  where there is heavy traffic, which comprises a road network
                                                                                      1 in which the each vehicle 2 exhibits means 3 for identi
               Guiding ID                                                             fication and means 4 for road information and means 5 for
               Position
               Destination 1                   Changed, if required                   the transmission of information between the vehicle 2 in
               Etc.                                                              65   question and a traffic information center 6, is of a nature in
                                                                                      accordance with the present invention Such that the road
                                                                                      network 1 is So arranged as to be entered into the System So
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that it is regarded as a data network. Every vehicle 2 that             Situation or traffic accidents, or where there is a wish to
proposes to use the road network is logged in for its journey           reduce the traffic temporarily or in certain areas, Such as near
on the road network 1. In accordance with the invention,                Schools. The System is also Suitable for use in conjunction
each vehicle 2 identifies itself at the time of loggin in, in           with payment, for example for using a certain road, etc.,
conjunction with which the aforementioned identity is either            which is So arranged as to be recorded and invoiced from the
dynamic of Static, i.e. like the IP address of a computer in            aforementioned traffic information center, thanks to the
data network. The dynamic identity, which is a faked ID, is             identity ID of each vehicle.
used in those cases in which the invention is used for
applications which do not require unique identification.                   The invention is described below in greater detail and
Information about the desired destination is Sent from each
                                                                        more comprehensively.
vehicle 2 principally to the nearest traffic information center                                 The Invention
6, either in conjunction with logging in or later in the course
of the journey if a new destination is desired, information               The invention is characterized by the idea that:
about the position and Speed of the vehicle is also reported              The road network is regarded as a data network, into
at regular intervals to the aforementioned traffic information     15       which you “log in' when you drive out on the road.
center. On the basis of the information reported to the traffic           Each vehicle identifies itself in conjunction with logging
information center 6, overall control of the traffic is                     in. The identity is international and contains informa
provided, and information about the resulting recommenda                     tion about the vehicle (type, model year, catalyser and
tion for the selected best route for each vehicle is transmitted
from the traffic information center 6 concerned to the vehicle               environmental fuel, etc.). It is important to point out
2 in question, and dynamic guiding of the traffic is obtained                that the identification can be dynamic (at the time of
in this way. Each vehicle 2 can obtain a new recommended                     loggin in, an ID is obtained which is used primarily to
route as the journey proceeds, if the traffic Situation has                  guide the vehicle during the journey) or static (a unique
changed. Thanks to the fact that the movements of all                        ID, which, in addition to guiding, can also be used for
vehicles are known, an overall traffic System is obtained                    other Services).
which displays an exact picture of the current traffic             25     Each driver must enter his desired destination, at least in
Situation, as a result of which its control is possible from a              conjunction with logging in, but also later if the des
central location. The driver of a vehicle 2 indicates his                   tination changes during the journey.
desired destination, and on the basis of this and by drawing              The vehicle provides information at regular intervals
on knowledge of other factors affecting the traffic and the                 about its current position together with information
road situation, the traffic information center 6 produces a                 about its Speed, etc.
recommended route. The driver can still elect to drive by a               And in addition by the following:
different route. If an incident occurs which affects the traffic          The network is international with unique addressing to all
conditions or the road conditions, and which means that the                  monitoring Stations. Traffic information center (TICs),
route already proposed is no longer as good, the traffic                     which permit roaming (the vehicle can obtain guidance
information center 6 produces a new recommendation as the          35
                                                                             from a center and, when it enters the area of another
journey proceeds.                                                            center, the latter takes over). All vehicles have access to
  A number of traffic information centers 6, 6A, 6B, 15 6C,                   these codes, which means that guiding can take place
6D . . . is thus arranged at a mutual distance from one                       for international transports.
another, and from this network unique addressing is                        Dynamic updating of Semi-stationary data Such as maps
arranged to take place to these centers in order to permit         40
                                                                              and addressing information, etc., is handled via an
roaming between the centers 6, 6A, 6B, 6C, 6D . . .                           updating protocol. A major problem associated with
   Information about the present position of the vehicle and                  guiding is the particular problem of keeping a map
about the Speed of the vehicle is arranged to be sent at                      updated. The vehicle describes the revision of geo
regular intervals from the respective vehicle 2 to the afore                  graphical data and other relevant guiding information
mentioned traffic information center 6.                            45
   Dynamic updating of Semi-stationary data, Such as map                      that the vehicle has stored-locally. This is to ensure
and address information, etc., is So arranged as to be                        that updating can take place “on-line'.
achieved by means of an updating protocol.                                                     Primary Function
   Information relating to the respective vehicle, Such as its
type, model year, presence of a catalyser, and details of          50      The invention makes it possible:
environmentally friendly fuel, etc., is also So arranged as to             To undertake dynamic guiding. Dynamic guiding of
be transmitted to the traffic information center 6 in conjunc           vehicles is something for the solution of which the EU’s
tion with logging in. Arrangements are made at the time of              research program has invested masses of resources. The
logging in either for an ID to be obtained, of a kind which             basic problem is that the point of departure is a Static traffic
is So arranged as to be used for guiding the vehicle 2 during      55   model which is based on historical information. An attempt
its journey for applications which do not require unique                is made to add to this dynamic information that has been
identification of the vehicle 2 during its journey, or a Static         gathered from various points of measurement. Reliable
ID, of a kind which is So arranged as to be used for Services           traffic measurement equipment is expensive, and this is the
in conjunction with the journey and/or at its end and/or                reason why few measurement points have been used. This
during Stops which call for unique identification. Moreover,       60   further reduces the accuracy of the calculated information.
updating of the position of the vehicle to the central traffic          This invention draws on the fact that information about the
information center 6 for the System can be arranged to take             movement of vehicles in traffic Systems is available and
place via a separate System, which is arranged in the vehicle           performs the calculations required in order to optimize the
2 and which contains the aforementioned ID of the vehicle               flow deriving therefrom. No investments in a fixed infra
2 and other information for the system.                            65   Structure are required.
  Dynamic upgrading of the route is also arranged So that it               Via dynamic guiding, use can be made of additional
can be achieved, for example in the event of a changed traffic               parameters in conjunction with the choice of route. This
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                              9                                                                      10
    can involve the following benefits for Society: Envi                 The system also has functions for the following:
    ronmental guiding-where certain vehicles are not                     For example, road use charges can be registered against
    permitted to drive on certain Sections of road. Hazard                 the identity of a specific Vehicle. The charge can be
    ous goods-creating Safe corridors. Emergency                           registered in relation to a particular road link and/or a
    rescue-creating emergency rescue routes, etc. For the                   unit of time.
    motorist, this can involve: the quickest route-the                   It is possible to introduce environmental charges in the
    quickest route is chosen without regard for the cost.                   Same way as road use charges. This can take place in
    The cheapest route-in which account is taken of the                     limited area and at Specific times. Changes can be
    cost of fuel and road use and environmental charges,                    introduced very rapidly with the help of this dynamic
    etc. The most environmentally friendly-prioritize the                   information.
    environmental aspects. No queues-I do not want to Sit
    in traffic jams, etc.                                                E-mail, or other information can be sent to a unique
  Dynamic control of traffic signals, public transport and                 Vehicle, Since it possesses an identity of its own in the
    other systems that influence the traffic flow.                          network.
  Guiding need not take place in areas where the traffic          15
                                                                          It is possible to request Services via the TIC, Such as a
    problems are limited. Here it may be used only in                        parking, etc.
    conjunction with accidents.                                           Theft prevention can be implemented via the TIC. You
  Guiding can take place in conjunction with accidents, etc.,                Switch on your unique identity when you park.
    where each vehicle can obtain Special guiding when the                A large number of advantages are achieved in this way
    destination of the journey is known. Information can               with the present invention, and the question of the vehicle
    already be provided in conjunction with “logging in' in            and/or the information location requesting a route without
    the case of road works and planned restrictions or                 these in return notifying their destination does not arise.
    changes in the traffic.                                               No extra equipment is required in the vehicle in order to
  Selective traffic information can be distributed when the            monitor and invoice road use charges, for example, to the
    vehicle's route is known.                                     25
                                                                       road users if Static addressing is used, and Verification of
  There are also other additional features:                            whether payment has been effected from a previously
  Permanent equipment in the road network identifies itself            invoiced journey is performed in conjunction with logging
     in those cases in which it is able to communicate with            in. Zoning now takes place with the help of Software and
     the vehicle and/or the TIC 6. This can apply to equip             requires no change to the program in the vehicle 2 or
     ment which identifies the presence of, for example,               investments in the infrastructure, and this Subdivision can
     pedestrians or signal control Systems.                            take place all the way down to individual road Segments.
  Functions for vehicle-to-vehicle communication are                     The choice of route for each driver now arrives in
                                                                       accordance with the invention from the central traffic infor
      available, which offer the possibility of introducing
      various forms of warning System.                                 mation center 6 of the System, whereas updating of the
   Speed monitoring can take place via the TIC 6. Equip           35
                                                                       current position of the vehicle is Sent to the aforementioned
                                                                       central traffic information center 6 as described above.
      ment in the car will be capable in the future of lowering          Means for Solving the above-mentioned technical trans
      the Speed automatically via information which is con             missions can be implemented with previously disclosed
      tained in the vehicle's computer and is updated                  Solutions for that purpose. The novel and unique features of
      dynamically via the TIC 6 or permanent equipment,                the invention are its construction, function and interaction.
      Such as from traffic lights at interSections.               40
                                                                       The invention is not restricted to the Solutions described
   It is possible to introduce virtual humps. This is a reduc          above and illustrated in the drawings, but may be is varied
tion in Speed of fairly short duration, for example at an              within the scope of the Patent Claims without departing
interSection. The dynamics of the method permit the intro              from the idea of invention.
duction of dynamic humps, for example during School hours                What is claimed is:
or in conjunction with road WorkS.                                45
                                                                         1. System for controlling vehicle movements, in areas
   Traffic planning is able to obtain information about exact          containing a road network, and a plurality of vehicles that
flows in the traffic system for use in its planning. One of the        exhibit means for identification, means for road information
places in which this taking place today is Gothenburg, Via a           and means for transmission of information between the
numerical census conducted every four years due to the cost.           vehicle and a traffic information center, characterized in that
   The ability to "play back Sequences in accidents, inci         50
dents and traffic jams, etc., in order to find out about the             the road network is So arranged as to be entered into the
Sequence of events associated with Sudden changes in the                    System as a data network,
traffic flow.                                                            each vehicle that is intended to make use of the road
  The debiting of road use charges, etc., can take place                    network is logged in for travelling on the road network,
     without unique identification if the equipment in the        55     the each vehicle is identified with an identity at the time
     vehicle is Supplemented with a unit for reading cash                   of logging in, in conjunction with which the identity is
     cards or similar equipment where the driver has                        either dynamic or Static,
     affected payment in advance, and if the System com                  information relating to the intended destination is Sent in
     prises means which offer the possibility of debiting the               from each vehicle to the traffic information center in
     cash card or Similar equipment.                              60       conjunction with logging in or later in the course of a
Functions Which Require a Unique Identification                            journey when there is a new desired destination,
  The requirement to identify oneself uniquely is not a                  information about position and Speed of the each vehicle
popular idea. There will be genuine resistance to Systems                  is reported at regular intervals to the aforementioned
which call for this. It is important, therefore, that the                   traffic information center,
invention should point clearly to the fact that this is only      65     whereby overall control of the traffic is achieved on the
required for a limited number of functions, which are                      basis of the information reported to the traffic informa
reported below.                                                             tion center,
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                          11                                                                         12
  information about a proposed route for each vehicle is                  8. System in accordance with claim 7, characterized in
     transmitted from the traffic information center to the            that updating of the position of the each vehicle to the central
     each vehicle and                                                  traffic information center takes place via a separate System
  the System exhibits an exact image of the actual traffic             in the each vehicle, Said Separate System contains the iden
     Situation and guides the traffic dynamically, for control         tification data of the each vehicle and other information for
     of the traffic situation centrally.                               the System.
  2. System in accordance with claim 1,                                   9. System in accordance with claim 6, characterized in
  characterized in that a number of traffic information                that the identity for the each vehicle is indicated in conjunc
      centers are arranged at a mutual distance from one               tion with logging in, and the identity can be used for Services
      another, and that unique addressing is So arranged as to         in conjunction with the journey and/or at the end of the
      take place from this network to these centers in order to        journey and/or during Stops.
      permit roaming between the centers.                                 10. System in accordance with claim 6, wherein vehicle
   3. System in accordance with claim 1, characterized in              information comprises type, model year, presence of a
that information about the present position and information       15
                                                                       catalyser, details of environmentally friendly fuel and com
about the present Speed of the each vehicle is arranged to be          binations thereof.
Sent at regular intervals from the each vehicle to the traffic            11. System in accordance with claim 1, characterized in
information center.                                                    that dynamic updating of the route can be obtained from the
   4. System in accordance with claim 1, further character             traffic information center, which will give a new Suggestion
ized in that dynamic updating of Semi-stationary data, is              for a route, in the event of one of a changed traffic Situation,
achieved by means of an updating protocol.                             a traffic accident and a wish for a reduced volume of traffic.
   5. System in accordance with claim 4 wherein semi                      12. System in accordance with claim 1, characterized in
Stationary data includes map and address information.                  that payment for using a certain road is So arranged as to be
   6. System in accordance with claim 1, characterized in              recorded and invoiced from the traffic information center.
that vehicle information relating to the each vehicle, trans      25
                                                                          13. System in accordance with claim 1, characterized in
mitted in conjunction with the each vehicle logging in.                that the equipment in the vehicle includes a unit for reading
   7. System in accordance with claim 6, characterized in              cash cards, or equipment where payment has been effected
that the identity for the each vehicle is So arranged as to be         in advance.
used for guiding the each vehicle during the each vehicle's
journey.
